Case 2:19-cr-20478-DPH-DRG ECF No. 80, PageID.628 Filed 06/16/21 Page 1 of 10




                        UNITED STATES OF AMERICA
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                          Plaintiff,

             v.                                     Case No. 19-cr-20478
                                                    Honorable Denise Page Hood


PAVEL STASSI,

                          Defendant.
                                           /

                 DEFENDANT STASSI’S REPLY TO
            GOVERNMENT’S SENTENCING MEMORANDUM

      In its sentencing memorandum, the government writes that “Defendants

Aleksandr Grichishkin, Andrei Skvortsov, Aleksandr Skorodumov, and Pavel Stassi

were founders and/or members of a so called “bulletproof” hosting organization (the

“Organization”). ECF No. 77, Page ID.545. While the statement is literally true, it

should be noted that Mr. Stassi was not a “founder” of the “organization.” Rather, he

was an employee who was hired well after the organization was involved in

“bulletproof” hosting, making $7,200 per year when he was first hired and $11,400

per year when he left the company. Moreover, when Mr. Stassi was first hired he had

no idea that the “organization” was involved in any criminal activity. Although, he

became aware of that fact after working at the “organization” for several months.
Case 2:19-cr-20478-DPH-DRG ECF No. 80, PageID.629 Filed 06/16/21 Page 2 of 10




      Yes, Mr. Stassi “undertook various administrative tasks, including conducting

and tracking online marketing to the organization’s criminal clientele and using stolen

and/or false personal information to register web hosting and financial accounts used

by the organization” ECF No. 77, Page ID.545 as the Government claims, but this

statement must be put context. All of these tasks were done at the direction of his

supervisors and were basically ministerial in nature. As is stated in Mr. Stassi’s

sentencing memorandum, Mr. Aleksandr Grichishkin stated that Mr. Stassi“as a newer

hire was given simple tasks to perform. . .” Similarly Mr. Skorodumov stated, “[Mr.

Stassi] was responsible for simple network administration tasks such as registering

domain names, forwarding abuse complaints, and basic system administration.” .

      The government writes that Mr. Stassi’s motivation was “for profit.” But as

noted above, Mr. Stassi received very little remuneration. He was hardly engaged in

a get rich quick scheme.

      Mr. Stassi does not take issue with the harm that was caused by the organization

and has taken full responsibility for his role in it. But as the government concedes, Mr.

Stassi was a “minimal participant,” and at virtually all times he was acting at the

direction of his superiors. This, of course, does not excuse his conduct, but his role in

the organization must be put into the proper perspective.

      In section 5 of its Sentencing Memorandum, “The Need to Avoid Unwarranted


                                           2
Case 2:19-cr-20478-DPH-DRG ECF No. 80, PageID.630 Filed 06/16/21 Page 3 of 10




Sentencing Disparities,” the government cites to a number of cases where defendants

involved in “similar” cases have received sentences ranging from 33 months to 18

years. ECF No. 77, Page ID.554. They may be similar in the sense that the conduct

involved cybercrime. However, the conduct of the defendants in those cases is

certainly not similar to Mr. Stassi’s conduct.

      The government first cites to the 60 month sentence meted out to Marko

Leopard United States v. Bondarenko et al. No. 2:17-CR-306-29, ECF No. 813 (D.

Nev. Mar. 24, 2021). Ibid. Mr. Leopard’s role in the offense was far more extensive

than that of Mr. Stassi’s. For example, unlike Mr. Stassi, who simply performed

ministerial tasks, Mr. Leopard designed hosting infrastructure and actually hosted

illegal websites. See pages 5-14 of Mr. Leopard’s plea agreement, which is attached

as exhibit A. In addition, Mr. Leopard acknowledged in his plea agreement that the

loss attributable to his conduct was a staggering $568,000,000. Ibid. Finally, Mr.

Leopard had previously been convicted for similar conduct in Moldavia.

      The government also cites to the 33 month sentence received by Mr. Sahurovs

in United States v. Sahurovs et al. No. 0:11-CR-177-1, ECF No. 80 (D. Minn. Sept.

12, 2018). Ibid. Again, Mr. Sahurovs’s role in the conspiracy was far more extensive

than Mr. Stassi’s. Mr. Sahurovs was the actual operator of a Latvia based bulletproof

web hosting service. See pages 2-4 of Mr. Sahurovs plea agreement, which is attached


                                          3
Case 2:19-cr-20478-DPH-DRG ECF No. 80, PageID.631 Filed 06/16/21 Page 4 of 10




as exhibit B. Moreover, Mr. Sahurovs earned between $150,000-$250,000. By

contrast, Mr. Stassi earned approximately $35,000 the entire time he worked at the

“organization.”

      The government also cites to the 18 year sentence in United States v. Vega, No.

1:07-CR-707-1, ECF No. 105 (E.D.N.Y. Dec. 18, 2013). ECF No. 77, Page ID.555-

556. The government correctly notes that Mr. Vega was the “founder of cybercrime

marketplace Carderplanet, which was used to check validity of and sell stolen credit

cards.” (Emphasis added). The government fails, however, to note that CarderPlanet

“had over 6000 members and had a hierarchical leadership structure that borrowed its

leadership titles from the Mafia.” See page 5 of the government sentencing

memorandum attached as exhibit C. Mr. Vega “admitted that he was a member and

co-founder of CarderPlanet and had an instrumental role in the CarderPlanet website.”

When arrested in Cyprus, Mr. Vega had a computer that “contained more than

500,000 stolen credit card numbers issued for over 7000 different financial institutions

throughout the world.” Exhibit C at p. 6. Although Mr. Vega entered into a

cooperation agreement, he breached his agreement by moving to withdraw his plea

and engaged in significant misconduct after pleading guilty. Exhibit C, pp. 6-11.

Finally, Mr. Vega had previously been convicted in Cyprus and had already pled

guilty to 21 counts of an indictment issued to the Northern District of California when


                                           4
Case 2:19-cr-20478-DPH-DRG ECF No. 80, PageID.632 Filed 06/16/21 Page 5 of 10




he was sentenced in the Eastern District of New York.

      The Government also cites to 168 month sentence and the 78 months sentence

the   defendants received in United States v. Bondars et al., No. 1:16-CR-228, ECF

No. 168, 248 (E.D. Va., Sept 21, 2018 and Apr, 2019) ECF No. 77, Page ID.555. In

describing the conduct for which the defendants were sentenced, the government

writes, “defendants hosting ‘Scan4You,” a site providing infrastructure and tools used

in cybercrime.” Ibid. This description hardly describes the scope of the conduct in that

case. The plea agreement in that case references a separately filed Statement of Facts

in connection with the plea agreement. The statement of Facts is 13 pages long and

is attached as exhibit D. According to the Statement of Facts, the defendant’s conduct

is no way comparable to that of Mr. Stassi’s. The defendants in that case operated and

were co-owners and co-administrators of the service. The organization performed

several services including operating a counter antivirus service. The statement of Facts

It described the antivirus service as “the largest service of its kind.” Moreover,

“throughout its lifetime, the [organization] had thousands of users had received and

scanned millions of malicious files.” Id p 5.

      “In addition to running the [organization] themselves, [the defendants] also

entered into something akin to franchise agreements with co-conspirators in other

countries.” Id at, p. 6. By using the defendants service, their co-conspirators were able


                                           5
Case 2:19-cr-20478-DPH-DRG ECF No. 80, PageID.633 Filed 06/16/21 Page 6 of 10




“to perpetrate hundred of thousands of computer intrusions in the United States and

elsewhere.” Id at 8. To get the full flavor of the defendant’s conduct, undersigned

counsel invites this court to review exhibit D in its entirety.

      The Government next cites to the 108 months sentence given to “the operator

of two online forums devoted to the facilitation of payment card fraud, computer

hacking” in United States v. Burkov, No. 1:15-CR-245, ECF No. 53 (E.D. Va. June

26, 2020). ECF No. 77, Page ID.555. Again, this short descriptor does not fully

describe the scope of the criminal conduct.” As in Bondars, the plea agreement

references a separately filed statement of facts in connection with the plea agreement.

The Statement of Facts is 13 pages long and is attached as exhibit E. Unlike Mr.

Stassi, the defendant in Burkov “controlled and operated CardPlanet.cc” which “sold

stolen payment card data from virtually all major U.S. payment cards under the

‘company-1' brand and issued by ‘bank-1.’” Company-1 was a major US credit card

company and Bank-1 was a major U.S. bank that issued credit cards. “[T]he

Cardplanet website. . . enabled customers to instantly validate stolen payment card

numbers that the customer purchase. [I]n order to maintain a constant supply of stolen

credit and debit card data. . . The defendant solicited stolen payment card data from

other cyber criminals.” Exhibit E, p. 2. “Through the Cardplanet website, [the

defendant] offered for sale stolen payment card data from more than 150,000


                                           6
Case 2:19-cr-20478-DPH-DRG ECF No. 80, PageID.634 Filed 06/16/21 Page 7 of 10




compromise payment cards . . . Knowing that the stolen data would be used to create

counterfeit cards in order to make fraudulent purchases.” Id at p.3.

      In addition to operating the Cardplanet website, Burkov also ran a cybercrime

forum which among other things “allow[ed] elite cyber criminals to meet in a location

where they would have access to other elite trusted co-spirit and where they could

plan and assist in cybercrimes, the advertisement, purchase, and sale of stolen goods

and the legal services. The stolen goods advertised on [the forum] included stolen

payment card data, stolen personal identifying information, and malware. The illegal

services advertised on the [forum ] included money-laundering service access to

networks of compromised computers.” Again, counsel invites this court to review the

attached statement of facts in its entirety to get the full flavor of the scope of the

defendant’s operation.

      The final defendant the government refers to is Roman Seleznev who received

a 168 month sentence in 2 different cases in the Northern District of Georgia, United

States v. Pleshchuk et al. (Seleznev), No. 1:09-CR-491-13, ECF No. 316 (N.D. Ga.

Dec. 1, 2017)and United States v. Seleznev, 1:17-CR-306-1, ECF. No. 9 (N.D. Ga.

Dec. 4, 2017), ECF No. 77, Page ID.555-556, said sentences to run concurrently. As

with the aforementioned cases, Mr. Seleznev’s role in the conspiracy was far more

extensive and than that of Mr. Stassi’s. According to the factual basis contained in Mr.


                                           7
Case 2:19-cr-20478-DPH-DRG ECF No. 80, PageID.635 Filed 06/16/21 Page 8 of 10




Seleznev’s plea agreement which is attached as exhibit F, he was involved in a

conspiracy where hackers accessed debit cards that were issued by various banks,

inflated the balances on the debit cards and then distributed the card data to “cashers”

who would then fraudulently withdraw money from ATM machines using the stolen

cards. Mr. Seleznev “was a lead casher who obtained an account number and PIN

code from a co-conspirator.” He then distributed the card information to other cashiers

who would then make withdrawals. After the co–conspirators made their fraudulent

withdrawals, they returned the majority of the proceeds to Mr. Seleznev who then

distributed majority of the proceeds to a co-conspirator. In a single day, Mr. Seleznev

and his sub-cashers withdrew over $2,000,000.

      In addition to being a “casher,” Mr. Seleznev was also associated with another

organization, Carder.su. The factual basis of Mr. Seleznev’s plea agreement described

the organization as follows:

      The Carder.su organization was a criminal enterprise that existed to
      enrich its members and associates to acts of identity theft and financial
      fraud, including, but not limited to, acts involving trafficking in stolen
      means of identification; trafficking in, production, and use of counterfeit
      identification documents; identity theft; trafficking in, production and
      use of unauthorized and counterfeit access devices; and bank fraud.

      Mr. Seleznev was what was referred to as a vendor. The vendors advertised and

sold products, services, and other contraband to members of the Carder.su

organization through its websites. The factual basis states that Mr. Seleznev:

      . . .sold members such a large volume of product that he created an

                                           8
Case 2:19-cr-20478-DPH-DRG ECF No. 80, PageID.636 Filed 06/16/21 Page 9 of 10




      automated website, which he advertised on the Carder.su websites. His
      automated website allowed members to log into and purchase stolen
      credit card and account data.

      The defendants in the aforementioned cases played a major role in the crimes

charged and in most of the cases played the major role. The cases cited by the

government are simply not comparable to Mr. Stassi’s role in the case at bar.

      For the reasons stated in Mr. Stassi’s sentencing memorandum in this reply,

sentence of time served with a term of supervised release is “sufficient, but not greater

than necessary, to comply with” the factors set forth in 18 U.S.C. § 3553(a)(2).

                                         Respectfully submitted,

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Dated: June 16, 2021




                                           9
Case 2:19-cr-20478-DPH-DRG ECF No. 80, PageID.637 Filed 06/16/21 Page 10 of 10




                           CERTIFICATE OF SERVICE

      I hereby certify that on June 16, 2021 I electronically filed the foregoing paper

with the Clerk of the Court using the ECF system. I further certify that I have emailed

a copy of the foregoing to Assistant United States Attorney Patrick Corbett and Louisa

Marion, attorney for the Department of Justice and Robert Luke of United States

Probation Department.

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